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 5
                            UNiTED STATES DISTRICT COURT
 6                WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     NORTHWEST ADMINISTRATORS, INC.,
 8                                                   NO.
                         Plaintiff,
 9
           V.                                        COMPLAINT TO COMPEL AUDIT
10
     STE. MICHELLE WINE ESTATES LTD.,
II
     a Washington limited liability company,
12
                         Defendant.
13


14                                             I.

15
           Plaintiff, Northwest Administrators, Inc., is an organization incorporated
!6
     under the laws of the State of Washington, with its prindpa! place of business in
17
     King County, and is the authorized administrative agency for and the assignee of
18
     the Washington Teamsters Welfare Trust Fund (hereinafter "Trust").
19


20                                             II.

21         The Washington Teamsters Welfare Trust Fund is an unincorporated

22   association operating as a Trust Fund pursuant to Section 302 of the Labor
23

24

25   COMPLAINT TO COMPEL AUDIT " 1

26
                                                             Reid, McCarthy, Ballew & Leahy, LLP.
                                                                              ATTOHNEYS AT LAW
                                                              100 WEST HARRISON STREET • NORTH TOWER, SUITE 300
                                                                        SEATTLE, WASHINGTON 98119
                                                                  TELEPHONE; (206) 285-0464 • FAX: (206)285-8925
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 1   Management Relations Act of 1947, as amended, to provide medical benefits to

 2   eligible participants.
 3
                                                   III.
 4
            This Court has jurisdiction over the subject matter of this action under
 5
     Section 502(e)(1) and (f) of the Employee Retirement Income Security Act of 1974
 6

     ("ERISA"), 29 U.S.C. §1132(e)(1) and (f) and under §301(a) of the Taft-Hartley Act,
 7

 8   29U.S.C.§185(a).

 9                                                 IV.

10          Venue is proper in this District under Section 502(e)(2) of ERISA, 29 U.S.C.
11
     §1132(e)(2), because the Plaintiff Trust Fund is administered in this District.
12
                                                   V.
13
            Defendant is a Washington limited liability company.
14
                                                   VI.
15


16          Defendant is bound to a collective bargaining agreement with Local 117 of

17   the International Brotherhood of Teamsters (hereinafter "Local"), under which the

18   Defendant is required to promptly and fully report for and pay monthly contributions
!9
     to the Trust at specific rates for each hour of compensation (including vacations,
20
     holidays, overtime and sick leave) said Defendant paid to its employees who were
21
     members of the bargaining unit represented by the Local (such bargaining unit
22

     members were any of the Defendant's part time or full time employees who
23


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     COMPLAINT TO COMPEL AUDIT - 2
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                                                              Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                              ATTORNEYS AT LAW
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 1   performed any work task covered by the Defendant's labor contract with the Local,

 2   whether or not those employees ever actually joined the Local).

 3
                                             VII.
 4
           Defendant accepted the Trust's Agreement & Declaration Agreement ("Trust
 5
     Agreement") which provides in part:
 6
                  Each Employer shall promptly furnish to the Trustees on
 7
                  demand any and ail records of his Employees,
 8                concerning the classification of such Employees, their
                  names, Social Security numbers, amount of wages paid
 9                and hours worked and any other payroll records and
                  information that the trustees may require in connection
10
                  with the administration of the Trust Fund. Each
                  Employer shall also submit in writing to the trustee s at
11
                  such regular periodic intervals and in such form as the
12                Trustees may establish such of the above data as may
                  be requested by the trustees. The Trustees or their
13                authorized representatives may examine the payroll
                  books and records of each Employer whenever such
14                examination is deemed necessary or advisable by the
                  Trustees in connection with the proper administration of
15
                  the Trust Fund. Upon request from the Trustees, each
16                Employer shall deliver in person or by such class of mail
                  as the Trustees shall determine to each of his
17                employees, and each Union shall deliver to each of its
                  members, who is a participant or beneficiary hereunder,
18
                  any notice or document which the Trustees are required
                  by law to distribute to such participant or beneficiaries.
19

20
                                            VIII.

z\         The Trustees of the Washington Teamsters Welfare Trust Fund deem it both

22   necessary and advisable to the proper administration of the Trust that their
23
     authorized representatives examine the Defendant's books and records for the
24

25
     COMPLAINT TO COMPEL AUDIT - 3
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                                                            Reid, McCarthy, Ballew & Leahy, L.L.P.
                                                                             ATTORNEYS AT LAW
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 1   inclusive period April 1, 2010 through the Present Date to determine if the

2    Defendant previously reported for and paid to the Trust all of the amounts due for
3
     the Defendant's employment of members of the bargaining unit represented by
4
     Teamsters Local 117 for said period.
5
                                               IX.
6
            Despite notification to the Defendant of the Trustees' desire to conduct an
 7

8    audit for the period April 1, 2010 through the Present Date, and demands made

9    upon the Defendant on the Trust's behalf for access to Defendant's records for an

10   examination of them for that period, to date the Defendant has failed and refused to
II
     make its records available for the thorough examination the Trustees deem
12
     necessary and advisable to the proper administration of the Trust.
13
            WHEREFORE, plaintiff, on the Trust's behalf, prays the court as follows:
14
            1. That the Court enter an Order Compelling Audit under which
15


16   Defendant shall be directed by the Court, within a specified time, to make available

17   to the authorized representatives of the Trustees of the Trust for the period April 1,

is   2010 through the Present Date, the following records:
19
                         Accounts Payable records
20
            2. Afford to the authorized representatives of the Trustees of the Trust
21
     both ample time and opportunity to examine all such materials of Defendant at such
22
     time and at such place as shall be convenient to the Trustees' authorized
23

24   representatives.


25   COMPLAINT TO COMPEL AUDIT - 4

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                                                              Reid, McCarthy, Ballew & Leahy, L.L.P.
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 1         3. For judgment against the Defendant for:

 2               A. Ail of the Plaintiff's attorney's fees incurred in gaining auditor

3
                        access to Defendant's records;
4
                 B. All of the Plaintiff's costs incurred in gaining auditor access to
 5
                        Defendant's records, and
 6
                 C. For such other and further relief as the Court may deem just
 7

 8                      and equitable.

 9         DATED this 9th day of March, 2018.

10                                         REID, MCCARTHY, BALLEW & LEAHY,
                                           LL.P.
11


12

13                                          Russell J Reid/V^6A #2560
                                           Attorney for Plaintiff
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25   COMPLAINT TO COMPEL AUDIT - 5

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